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                                   IPP International U.G. Declaration Exhibit A
                                     File Hashes for IP Address 104.1.246.6

ISP: AT&T Internet Services
Physical Location: Wood Dale, IL



Hit Date UTC           File Hash                                Title
08/09/2017 10:55:01    A8AE0D151DF79CDD9F119915CB37C4F80DC1240C Summer Sex with Sybil

08/09/2017 10:14:31    1C6E61E6696FA820CB8A8109C203E91C48D2C6A2           Sultry Summer Heat

07/31/2017 16:57:57    D9F0A6A06FF8C4B33019EEF26B83E6EABFEEBB2A           Wet Perfection

07/31/2017 07:44:38    81F43EF320BADD22BBF2D822EB45845CBA445B8C           Summer Lovers

06/29/2017 13:51:20    31669469C037C742F04D4155DE1CCF6E864BE28E           Best Friends Or Lesbians

09/03/2016 18:10:22    FCF07B18C2484D6A0276998E5464695CE08C014B           Girl Crush

12/20/2014 21:24:56    92314F790C84FDDD692601CFC185DD738A62BB7B           Sapphically Sexy

11/19/2014 04:05:17    B47E8E9A47012050D694FA0145B9432385F88017           A Cloudy Hot Day

11/19/2014 00:18:25    A5C51C7E271C9ED8793188E08A0280BE69D064A3           Instant Erotica


Total Statutory Claims Against Defendant: 9




                                                   EXHIBIT A
NIL788
